   8:06-cv-00254-JFB-TDT Doc # 38 Filed: 01/14/08 Page 1 of 1 - Page ID # 243
                       UNITED STATES COURT OF APPEALS
                           FOR THE EIGHTH CIRCUIT

                                            No: 07-1967

                                          George Lemm,

                                                      Appellant

                                                 v.

                                     Omni Engineering, Inc.,

                                                      Appellee

______________________________________________________________________________

                      Appeal from District of Nebraska - Omaha
                                (8:06-cv-00254-JFB)
______________________________________________________________________________

                                           JUDGMENT

       This appeal from the United States District Court was submitted on the record of the

district court, briefs of the parties and was argued by counsel.

       After consideration, it is hereby ordered and adjudged that the judgment of the district

court in this cause is affirmed in accordance with the opinion of this Court.

                                                        January 14, 2008




Order Entered in Accordance with Opinion:
Clerk, U.S. Court of Appeals, Eighth Circuit.
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            /s/ Michael E. Gans
